                      IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
                                HARRISBURG DIVISION


    In re:

   ROMAN CATHOLIC DIOCESE OF                              Case No. 1:20-bk-00599 (HWV)
   HARRISBURG,
                                                          Chapter 11
                          Debtors.



  CLAIMANTS’ NOS. 102 and 103 RESPONSE TO INSURANCE COMPANIES'
                    OBJECTIONS TO PROOFS OF CLAIM



         AND NOW, come the Claimants (hereinafter “KBA Claimants”), by and through counsel,

 Ketterer, Browne & Associates, who hereby respond to the insurance companies Travelers' and

 LMI 's (the “Insurers”) Objections to KBA Claimants’ Proofs of Claim (“POCs”) and respectfully

 state as follows:


                                         INTRODUCTION

             1.   This Honorable Court should overrule the Insurers’ Objections as the Insurers are

 not interested parties under 11 USCS § 1109(b) and the Roman Catholic Diocese of Harrisburg

 (the “Debtor”) has not objected to KBA Claimants’ POCs as being barred by the statute of

 limitations.

                                          BACKGROUND

             2.   On February 19, 2020, the Debtor filed a Voluntary Petition for Relief under

 Chapter 11 of the Bankruptcy Code in this Court (“Chapter 11 Case”).

             3.   KBA Claimants filed their individual POCs in the Chapter 11 Case and upon

  information and belief, the abuse described in the POCs falls within the Insurers’ coverage periods.

             4.   The Insurers filed objections to KBA Claimants’ POCs arguing that each POC

 should be disallowed because they are barred by the statute of limitations. With respect to
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 Claimant 103, Claim No. 237,Doc
                             LMI1322
                                 made anFiled 04/28/22
                                         additional      Entered
                                                    argument       04/28/22
                                                             that claim       17:06:43
                                                                        was time barred. Desc
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                    THE INSURERS’ OBJECTIONS SHOULD BE OVERRULED

         5.      The Insurers are not parties in interest under 11 USCS § 1109(b) therefore they

 have no right to object to KBA Claimants’ POCs.

         6.      The Insurers are insurance companies of the Debtor, whose insurance has not yet

 been implicated by KBA Claimants’ POCs.

         7.      The Debtor does not object to KBA Claimants’ POCs. The Insurers’ rights are

 subordinate to the Debtor.

         8.      “[N]umerous courts have upheld the right of an entity to file a proof of claim, even

 if that claim is clearly barred by the applicable statute of limitations. See, e.g., In re McGregor,

 398 B.R. at 564 (Bankr. N.D. Ms.); In re Andrews, 394 B.R. 384, 388 (Bankr. E.D.N.C. 2008); In

 re Simpson, 2008 Bankr. LEXIS 2457, 2008 WL 4216317, at *2, *3 (Bankr. N.D. Ala. 2008); In

 re Varona, 388 B.R. 705, 723-24 (Bankr. E.D. Va. 2008).” Keeler v. PRA Receivables Mgmt.,

 LLC (In re Keeler), 440 B.R. 354, 363 (Bankr. E.D. Pa. 2009).

         9.      “A debt barred by the statute of limitations is not extinguished; rather, it is subject

 to an affirmative defense that can be waived.” Keeler v. PRA Receivables Mgmt., LLC (In re

 Keeler), 440 B.R. 354, 365 (Bankr. E.D. Pa. 2009).

         10.     The Debtor as the correct party in interest has waived the affirmative defense of

 KBA Claimants’ POCs being allegedly barred by the statute of limitations.

         11.     The Insurance Companies seek to interfere with this Chapter 11 Case and object to

 Claimants’ POCs which were filed in accordance with this Honorable Court’s Order.

         12.     Furthermore, and with respect to KBA Claimant 103, Claim No. 237, there is a

 pending Motion to Extend the Claims Bar Date or File a Late Claim.




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                                        CLAIMANTS’ REQUEST

         13.      The KBA Claimants request that this Honorable Court overrule the

 Insurers’ Objections outright.

         14.     If Insurers’ Objections are sustained, KBA Claimants request the Court

 order dismissal without prejudice so the claims may be filed in the future in the event that the

 statute of limitations is amended.


                                           CONCLUSION

         WHEREFORE, KBA Claimants respectfully request that this Honorable Court overrule

 the Insurers’ Objections. Alternatively, should this Honorable Court sustain the Insurers’

 Objections, KBA Claimants respectfully request that the Court dismiss the claims without

 prejudice so they might be refiled if the statute of limitations is amended.




                                               KETTERER, BROWNE & ASSOCIATES


 Date: April 28, 2022                          /s/ Derek T. Braslow
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                                                       Chapter 11
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                                            ORDER


        AND NOW, this __________ day of __________________, 2022, upon consideration of

 the Objections of the Insurance Companies to Ketterer, Browne & Associates' Proofs of Claim,

 IT IS HEREBY ORDERED, that said Objections are OVERRULED. The Claimants’ Proofs of

 Claim (Nos. 237 and 100015) are allowed.




                                                   BY THE COURT,



                                                   ______________________________

                                                                                J.




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